                    CASE 0:19-cv-02581-NEB-DTS Doc. 1-1 Filed 09/24/19 Page 1 of 22
                                                                                                                       Pfh,tu'rAt
                                                                                 'T c-,/
                         Minnesota Correctional Facilitv-                                                         14* e5t\ lueg lD\5
                                   Offender Intake Inventorv Record

offender   Nu        ///r.-./ ,:/r.,/ ) ,t((/--"7 oID#
                  ",         -/
  PSIHold:    !     ICC Offender:n                             Former state OID#:                          BY f\4AfL
                                                                                                            SEP Z    1Zltg
Inventoried bv:
                       StaffPrintName                                                        Staff Signature CLERK
Allowable items w/offender                                             Items to other departmbl{Bs DISTRICT COURT
       Dentures-fu lVpartial (circle)                                              Health    S   erviLd8dl\l Ff, fdQhFlMd\$yFs   orA
      Fyeglasses/Contacts: Prescription only                           Medical Brage(s), medications, walking aid(s)
      Ring-plain band/no stones                                        Other:
                                                                        Records: (circle) State ID, Driver's License,
Allowable items to property                                             Passport, Birth Certificate, SS card, tribal lD
  . Address book (1) no metal spiral                                    Finance: check/cash $
   Y=  f.gal papers (floppy disks, CDs, DVDs, flash driyes not allowed)           JPay card
xHil':'^lTl:':?:'^o*o:^'.'i::n:l
  2-                             ,rli r,le >
                           (no more than
--.-...4F- Religious items
                                           t
Items needing further disposition: Offender will choose to ship or dispose, indicated by (S) or (D)
       Jacket                                Bracelet(s)                              Cell Phone
       Pants                                 Earring(s)_                              Credit/Debit Card(s)_
          Shirt(s)-                                    Necklace(s)_                                     Purse
          Shoes-                                       Ring(s)                                          Wallet
          Undergarment(s)_                             Watch(s),                                        Other
          Other                                        Other                                            Other

Miscell


NOTICE TO OFFENDER:
You have 30 days to respond regarding disposition. If you do not, the item(s) will be donated, disposed or
destroyed.
Items marked with an * present an immediate sanitation, safety or security threat and were immediately disposed of.
Items marked with an X are not allowed to be shipped out of the facility and will be disposed.

AGREEMENT:                                                                                       Staff Use Only -Charges
I hereby request the following disposition of my property as listed:                   Shipped Date
_Ship out (paid by any funds in my account)                                            Insurance
_lnsure for $_                                                                         Handling Fee
        Dispose: (Property staff make the final disposition                            Staff Sienature
determination of any offender personal iteim-donate, recycle, discard)

Name (Ship to

Sheet Address:

City:

off.r;     Signature:

Staff                                                                      Staff Print Name:

                        - File; 2 copies -     Offender (Offender return 1 copy to property indicating disposition)

                                                                                ,,,r,
                                                                                ..;' ;i j
                                                                                                                          302.250P (8120t6)
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                       CASE 0:19-cv-02581-NEB-DTS Doc. 1-1 Filed 09/24/19 Page 2 of 22
E*NoiLA
                                                     Minnesota Department of Corrections

                                               SEGRBGATION TINIT INTAKE
                      tl
                      Uawffift        n                              orD#: lSlo4l           DATE:
                                                                                                           {f-l,i
 'FFENDER.
                                                                                                Bag#:
                                                                                                           ti$
 The following personal property has been inventoried and placed in storage and will be returned to the offender
 upon release. r

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         ot,K5
 -\L *
 SL    ltant
 5I* * l'rh,il



 Coin amount: $                         Staff Sienature:




           Other Concerns:                                  ;-{{^d   l6t\fr\ onc\ Ci Ui { K,.:h,
                                                                                              h-\S (Jr" /
       \     -otgttr



  Refuse to sisn:


 ;I have received the above recorded property:                                                     Date:




 Distribution:      1) Original-Segregation   File   2) Offender 3) Segregation Property Room                        .    Rev. 2-19
                                                                                                                {!nt ,'t'i#44   #\
                                                                                                                 '),"*f   .-{
                           CASE 0:19-cv-02581-NEB-DTS Doc. 1-1 Filed 09/24/19 Page 3 of 22

Erhrb   ;+,b                                            Minnesota Department of Corrections

                                                  SEGREGATION TINIT INTAKE

                                                                                                          DATE:
                                                                                    .'I i                               {-l f}
  From Unit:                                                               Room:                               Bag#:


  The following personal property has been inventoried and placed in storage and will be returned to the offender
  upon release.
     fl
        JW"


        kj   l-'r
                                    ,,i
      qltr l,        v.\t v'i




  Coin amount: $                            Staff Signature:


  Counted and stored with offender properfy. Offender Signature:


  The offender shall be interviewed for the following:


               Medications          fiei I No          What medications:
                                                                                                      Contact Medical Services

               Diet list            Y"    /s           What diet restrictions:


               Incompatibilities:
                                                  tu

               Other Concerns:                  ,t'b

  Ihave received a copy of the Segregation Intake Packet and understand                        I   am responsible for the information
  contained within.


                                                                                                          ll
  on oa." rr/*.,                                                                 staff Name @rint):


   Refuse to sign:


  lI have received the above recorded property:




                                                                        3) Segregation Property Room                             Rev. 2-19
                            CASE 0:19-cv-02581-NEB-DTS Doc. 1-1 Filed 09/24/19 Page 4 of 22
ErhlUt,c                                                                                                        !tn'
                                                         Minnesota Department of Corrections                           *A
                                                                                                                              ".   l-r
                                                  SEGREGATION T]NIT INTAKE

  OFFENDER:                 ilalma\                                          orD#:   l5/o4l          DATE:
                                                                                                                "f. d
                                                                                                                -T t:
                                                                                                                                         \x.


  From Unit:
                                   LUE                                       Room:   tto   6/           Bag#:
                                                                                                                q(a
  The following personal property has been inventoried and placed in storage uoa                      *itt   tQrypd         to.the offender


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  Coin amount: $                            Staff Signature:
                                                                       \.t
  Counted and stored with offender prope4y. Offender Signature:


  The offender shall be interviewed

              Medications          @,
              Diet list

              Incompatibilities:


              Other Concerns:      | | \\   l



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x8,?*iJ*ht# n.;t't
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   Refus_e   to sign:
                                                                                                                                               !
  lIi Sive received the above  recorded
                           rYv rvwrsvs      properly:
                                            yLvPwLoJ .
                                                                       |                              ' Date:                                  {

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                                                                                                                                               {
  lOffender Signature:                                            J'


  Distribution: 1) Original-Segregation         File     2) Offenfter 3) Segregation Property Room
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           CASE 0:19-cv-02581-NEB-DTS Doc. 1-1 Filed 09/24/19 Page 5 of 22
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       CASE 0:19-cv-02581-NEB-DTS Doc. 1-1 Filed 09/24/19 Page 6 of 22


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When placir1g your hands out of the tray slot of
your cell.or phe recreation area for routine
movemer nt, jrou MUST have your hands'apart
with the pa+ns facing each other and the fingers
spread    .LP.rrf,.
JPr E.rtr aparlt.                   ,




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FACILITY ADDRESS:
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ST. CLOUD CORRECTIONAL FACILITY
                t

2305 MINNESOTA BLVD
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sr. cl,ouD, MN
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                 56304
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      MINNESOTA STATUTES 1996, SECTION 609.2231, SUBDIVISION 3:
Subbed. 3, (CORRECTIONAL EMPLOYEES) Whoever commits either of the followine acts against an
employee of a iorrectional facility as defined in section 241.021, subdivision 1, clause (5) while the employee is
engaged in the performance of a duty imposed by law, is guilty of a felony and may be sentenced to
imprisonment for not more than two years or to payment of a fine of not more than $4,000 or both:
   1. Assaults the employee and inflicts demonstrable bodilv harm: or
      2.

Sec. 37. (609.2232) (CONSECUTIVE SENTENCES FOR                ASSAULTS COMMITTED BY STATE PRTSON
OFFENDERS).

If   an offender of a state correctional
                                   facility is convicted of yiolating section 609.221. 609.222. 609.223.
609.2231. or 609.224. while confined in the facility. the senience imposed for the assault shall be executed and
run consecutivelY to any unexpired portion of the offender's earlier sentence. The offender is not entitled to
credit a9ainst the sentence imposed for the assault for time served in confinement for the earlier sentence. The
offender shall serve the sentence for the assault in a state correctional facilitv even if the assault conviction was
for a misdemeanor or gross misdemeanor.
Article 9 Section 37 209


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RADIOS:
Offenders in segregation o{ Administrative status are eligible for a radio after 48 !_oy* ofplacement. The
offender will be required tq fill out and sign a voucher for the value of the radio. If the radio is not returned in
the condition it was;;te|d;rh" tottrt"t *ill be processed.
                               I
If you allow   anyone to uselour radio, you may receive a formal report or informal sanctions and you will lose
ybur radio privilege for 30 pays. After 30 days (provided you did not revert to Phase I) you must request in
writing to have the radio reiurned. A second violation will increase the number of days you lose'this privilege
and may eliminate you fro$ fuither use of a radio. If an issued radio is damaged/destroyed, you will be
charged for the radio andlradio privileges will be suspended for a minimum of 30 days and may be
permanent as determined;by your behavior.
                               I
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                      'l       I


DAMAGE TO BEDDING:
The term "bedding" includSs mattresses, pillow, sheets, pillowcase and blanket.
If you damage your beddin! in any way or use it for any purpose other than what it is intended you will receive
a behavior report. You will be required to pay for any damaged or altered bedding or clothing.

                               I
Should you damage your lbedding, you will be required to pay restitution.




READING MATERTAL:
You are allowed to have thfee (3) books in your cell. One (1) religious book or legal books are included in the
total. Every Monday, Wedhesday and Friday the 3'd Watch staff will exchange books. Each offender may
receive up to two (2) book{upon request and must exchange the same amount of books they are requesting.
Youl are requrred
         required to have,Ell   DooKs cnecKeo
                      nave,all books  checked ouT to you m
                                              out ro             possession. !DO NOT PASS THEM!
                                                         in your possessron.
    . You will be charge{ to replace the book if it is not in your possession.
     o                    '
        Books damaged wtrite
                            l.r                                   -:l :l:L-
                                in your possession are your responsibility  -,- I restitution
                                                                            and   -
                                                                                              will be assessed.
  Abuse of libra            lrl                                     of libra




     LAW LIBRARY

     The Law Library is iavailable for offenders to do their criminal appeals or deal with matters
     concerning conditiohs of incarceration. Offenders are required to do their own LEGAL
     RESEARCH. Sinc{ you cannot go to the law library while living in segregation you rnay
                         !* inforrnatiJn
     receive copies of le$al i            by sendiing a kite to the Law Library. Request should be
     specific and you wi be sent the information.

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              tufue;ffffi
    -   W                              ffi-FEND                E   R HA ND B o o K

        The information contained in this handbook supersedes any previous information regarding Segregation
operation.

        As a new offender in Segregation, it is your responsibility to become familiar with this handbook.
Segregation operates under a Phase System, and is designed to ailow you, regardless of the reason for which
you are here, to determine what privileges you may be allowed, and to a great degree, when you are eligible to
return to the general population. From this point on, your actions will determine what you are eligible for.

        Offenders entering Segregation on Pre-Hearing Detention Status or through a discipline hearing are
eligible for visiting privileges I hour per month, and then only on Non-Contact Status on Thursday or Friday
from 2:00 p.m. to 3:00 p.m. If you know you were going to have a visit before coming to segregation, contact
Segregation staff. They will contact your caseworker or a caseworker on duty who will attempt to contact one'
person for you and let them know that you are unable to have visits until after appearing in Due Process.

       On the following pages, you will find information on the Phase System, your eligibility for privileges
and procedures you may use to make your stay in Segregation as short as possible.

Revised: December 2017
Segregation Assistant Director: LT. J. Rykken




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MINNESOT          CORRECTIONAL FACILITY ST. CLOUD

                           SEGREGATION
                                    '




                    OFFENDER HANDBOOK




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                            Revised: December 2017




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                                                                                                    Exh;b,+-ct
                                             Minnesota' Department of Corrections
                                               Segregation Room Pick-UP Form
                                                                                                   qBlfuon
    Offender:

    From Unit:             E                       Room   #'         1 (O
                                                                 your personal properly' This,is a one-time only
i   The following is a list of items that staff may pick up from
    request.

                                                           Items                     Comments
                 Authorized Items
                                                          Received

    Phone Number/Address Book

    Shower Shoes

    Wedding ring with no stones, plain band                                                                   I




    Comb/Pick/Brush       (l   onlY)

    Prepaid Envelope (10 onlY)

    Prescription EYewear       (l   Pair)

    Authorized Prosthetics

    Fan (where authorized)

    Religious Item   (l   onlY)

    Legal Papers (5 pound limit)                                        L<o,"ul      Pq}eiS--:-_ --
    Ear Plugs (where authorized)

    Dentures


    Give a brief description of where property is located:

                       rif              OC
                               '*b


                                                                                    Date:
    Completed bY staff:
                                                                                    Date:
    Property received bY offender:

    Distribution:
    Segregation file
    Offender-
     PropertY

                                                                                                 301.083B (6t20ts)
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                                                                                                                       Ernibi-+-.         u
                                           Minnesota Department of Corrections
                                               OFF'ENDER KITE FORM
Offenders are encouraged to communicate with staff at all levels, but it is expected that the chain of command will be used. Your
kite should be directed to the staff who can best answer your question. If you send a kite requiring an answer to the wrong staff, it
will be retumed to you. Kites are to be used for offender to staff conespondence only. If your kite is not specific, it will be retumed
for additional information. If you want your kite reviewed further up the chain of command, you must attach all previous kites to




                                  /Room/ceu        -l lO              casemanag*'         Jbson           SKA=Ak
Other staff you have contacted regarding this issue and the outcome/decision (attach responses):




at                                                                                    ]f     t^:ou-fd




Response from:




                                  :- . -:'---..r,ffiirs out of the facility until Wednesdav
                                                                                  Wgdnesgav
                                  i-*-;
                                  ;;-                   . Please FESUBMIT vouf K[E, AFTER
                                  I                               that date.
                                                  - CHAPLAIN WILLIAM DORNBUSH

                                                                                 Un
                                                                                                           5
                                                                     DAr";{-mnh
                                                                            t,J!.
                                                                too {prrder; cop} to rbsBorYle                          (s/200e)
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                                                                                                         FMtb,{-,.8
                                 Minnesota Department of Corrections
                              ADMINISTRATIVE SEGREGATION ORDER
                                      AND 24.HOUR REVIEW


Offender Name: Adam Hageman                                                            OID:251041
Placement Date: 09-16-19                                                                            cility: MCF-SI. Cloud

Time ofPlacement: 1935

Type of placement:

X a.    The offender requires protection from other offenders.

X U. The offender requires isolation       for medical or mentai health reasons.

X c. The offender is under investigation for possible disciplinary or criminal charges.
     I fne offender is believed tb have committed r.v.tity level4 or 5 rule violitions.
n a. The offender is posing a threat to him/herselfl others, or to the security of the facility.
     I fire offender is being held pending decision on Restrictive Housing Step-Down Management,-
        Program placement (Policy 30 1.088).


I e. The offender is being held for another authority or pending transfer.
Comment:

X   Health Services notified
I   Mental Health Services notified

Authorized signature:            LlE)r-                           Date:           ar-/d -/   t
Printed Name Engeldingeq                                                 Title:


Administrative 24-hour review       :


Action taken:           fl   Continued            f, Released                n     Placed on Pre-hearing Detention.

Comment:


* Authorized signature:                                              Date:                       Time:

Printed Name                                                    Title:

+Must be a facility supervisor not involved in initial placement and of higher authority.




                                           Page 1   of1                      301.08sA (6/2019)
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                                            Minnesota Department of Corrections                                     hhibl- h
                                         MINNESOTA CORRECTIONAL FACILITY
                                                NPTICE OF RIGHTS
         Thb following surnmary of an offender's rights represents the Minnesota Department of Corrections
         Offender Discipline Plan:

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          '2-




                                                                                                           wilt be sbheduled within




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     13.



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   .(HETURN TO DlscrPUNE
                         UNIT WITHIN'TWOIWORKING DAYS OF RECETV|NG ruoTter'or uotAT{oNl




Rdceived by Discipline Unit:' (date aniJ initiatsl

                      :
.NOTE: Failure to request witnesses or .failure to RETURN Witness Requei( forfeits   trr'e   right to have the witnesses catled to
 a'Pea( at the Hearing-
                                                                                                   ,                3o3-o1o'    2r2oos




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                                                                         Attachment       8
